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&lt;div&gt;SUMMARY &lt;/div&gt;
&lt;div&gt;October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2024COA112&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No&lt;span&gt;. 23CA1278, &lt;span&gt;In re the Marriage of Nevedrova&lt;/span&gt; &lt;span&gt;â&lt;/span&gt; Family La&lt;span&gt;&lt;/span&gt;w &lt;/span&gt;
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&lt;div&gt;â&lt;span&gt; Dissolution &lt;/span&gt;â&lt;span&gt; Disposition of Property &lt;/span&gt;â&lt;span&gt; Marital Property;&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Financial Institutions &lt;span&gt;â&lt;/span&gt; Colorado Uniform Transfers to &lt;span&gt;&lt;/span&gt;Minors &lt;/div&gt;
&lt;div&gt;Act &lt;span&gt;â&lt;/span&gt; Transfers to Minors&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;A division of the court of appeals concludes that an account &lt;/div&gt;
&lt;div&gt;established under the Colorado Uniform Transfers &lt;span&gt;to&lt;/span&gt; Minors Act, &lt;/div&gt;
&lt;div&gt;sections 11-&lt;span&gt;50&lt;/span&gt;-101 to -126, C.R.S. 2024, is propert&lt;span&gt;&lt;/span&gt;y of the minor&lt;span&gt;. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Therefore it may not be considered marital property &lt;span&gt;&lt;/span&gt;subject to &lt;/div&gt;
&lt;div&gt;property division in a dissolution of marriage action.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;The summaries of the Colorado Court of Appeals published opinions &lt;/div&gt;
&lt;div&gt;constitute no part of the opinion of the division but have been prepared by &lt;/div&gt;
&lt;div&gt;the division for the convenience of the reader.  The summaries may not be &lt;/div&gt;
&lt;div&gt;cited or &lt;span&gt;relied upon as they are not the official language of the division.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Any discrepancy between the language in the summary and in the opinion &lt;/div&gt;
&lt;div&gt;should be resolved in favor of the language in the opinion. &lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMs/GK1/MMsGK1IUcTD4uOM2MYd37VlD9cmxLJ5yIKdghlAb1pNX4%3D?AWSAccessKeyId=ASIA5PHC3MTP754XRHJ2&amp;amp;Expires=1728882179&amp;amp;Signature=kXhfFRCeH4KnrF%2FqxCnIeAMNZCI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHQaCXVzLWVhc3QtMSJHMEUCIQCRiu1HmqHzGsGThIA0Is017QJ2kY1uatjAxPUBSRV2OwIgUaC6c%2FPp4Cva3eYWFGUL82DN9oljmekTbXfgm60s37QquwUIzP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDAQeNNJFT5jWrJe37CqPBRlqFY8fqwQmI967SdJ05gvefQuEkWNtOpmbBiy05yBOFa62thTa8LEou9JRndCaLZSYNKZqfqXTTrjLrZ7XYLsq%2BY7DjqZh38KFQxw56G6E%2BpBgmloi0MwwCA%2BhtOkHJNctlOyvqhDSPuDpz%2Fj7qbb0WPCo%2BQyz9Jt68QFrnuGzEQk3y%2FPKng1IRCp30uBpgAU4QQUhh8%2FvICoLNIaovllBnNr6KhUAxg7RU2drKWCEGJr7DWB38BEY%2BDOYAm2oYTaAzQBilbEdAODsbdGkrnYBqOU6Zq9F5RIN4%2FOleX%2FL6Hf22MUzdhjPXQjn9epND%2FStlnThz%2BE82SZqo%2FKpKYK6AuFXs%2Fz6uIOrTooXd5I2Fly9q%2Ffr3UqYKC4oOdRr8Sj3dAFfLR%2B1mm0SbhVtUm81EDfeZuJ%2F3wGEu%2FtjRQKCWk0wqU2kKPZNOx6DqcqIUe3aZxAQAtwTB6d1Ehu%2BmQQJRqJRm0JtlZnbxLdt8jJjij%2FHSOsx%2BzXsWErRN%2B8T4%2Bmff%2Feo3zL1OiOmkELsJvz9GBPfk9c%2BA6ndzwQhXJgbU11FP5ZkK0EasZJtpCYo7kjVHhlduNJx4WwFAd0l9hbZI%2B81iJ3sGfvXfvd0vA%2BeF5enRYw99FyiCdZNL4tyUJ9vRgUcv3IXBX8f3rNq8VunAj46%2BDiyZO9wE1tBuE2airRUyxTvUURaAdxaIldxhfQaL2YkZmPAzkJs3pv9NTDxDuzARZgnjtQCNC26oqFNJjWXtpplc3AMsOOHJH8N8W%2B6v9%2FJYCw4Irsqhc7TXWWI8K%2BPwy2nAUmtgsUH5gIbI8mOn3sQdeBDe5wzLOA3auByoCgzAEdNDCzBULANcPvat2L%2FTHd3WrjwWBFxSG8wppqyuAY6sQGn0E%2BwkcU%2FTQdxGNdLb6kQDnoW8VDER%2BLP025Q%2FyOlmZtdro7IQQ8%2BuZMnf%2FPKSVsbzgdbA4gYFvapCUy8ajA9Rd6ngEMt4M7LpWDv89vOq%2BIDQCJFlee1sypW3vY32P5vYZmQX0fvybcZ1FVaQegjcMFhCuPxOJpniveghH4AQVdqpr3%2BCoQLp1fOT81CwMlqJcbRsG0GZZ%2F6fikXC%2Bde96VHLAdCX%2BBfwM4z8fvN9Ck%3D"&gt;&lt;div&gt;
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&lt;div&gt;COURT OF APPEALS                                                                    &lt;span&gt;2024COA112&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA1278 &lt;/div&gt;
&lt;div&gt;El Paso&lt;span&gt; County District Court No. 21DR31895 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable &lt;span&gt;Jill M&lt;/span&gt;. Brady, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;In re the Marriage of &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Cheryl Laslo Nevedrova, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;and &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Dmitri Nevedrov, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT&lt;span&gt; &lt;span&gt;REVERSED AND CASE REMANDED WITH DIRECTIONS&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division II &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;JOHNSON&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Fox&lt;span&gt; and Schock, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Robinson &lt;span&gt;&amp;amp; Henry, P.C., Marlana A. Caruso, Highlands Ranch, Colorado, for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Beltz &amp;amp; &lt;span&gt;West&lt;/span&gt;, P.C., Daniel A. &lt;span&gt;West&lt;/span&gt;, Colorado Springs, Colorado, for Appellant&lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;This case requires us to decide whether an account &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;established under the Colorado Uniform Transfers to Minors Act &lt;/div&gt;
&lt;div&gt;(UTMA), sections &lt;span&gt;11&lt;span&gt;-&lt;span&gt;50&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-101 to -126, C.R.S. 2024, may be &lt;/div&gt;
&lt;div&gt;considered mar&lt;span&gt;it&lt;/span&gt;al property.  In this dissolution of marriage &lt;/div&gt;
&lt;div&gt;proceeding between Dimitri Nevedrov (husband) and Cheryl Laslo &lt;/div&gt;
&lt;div&gt;Nevedrova (wife), husband asserts that the district court lacked &lt;/div&gt;
&lt;div&gt;jurisdiction to divide the balance of an account established in the &lt;/div&gt;
&lt;div&gt;partiesâ childâs name &lt;span&gt;under the UTMA.  We conclude that, &lt;span&gt;&lt;/span&gt;&lt;span&gt;if&lt;span&gt; an &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;account &lt;span&gt;wa&lt;/span&gt;s created under the UTMA and funds were properly &lt;/div&gt;
&lt;div&gt;transferred to it&lt;span&gt;, &lt;/span&gt;the account is not marital property.  But we also &lt;/div&gt;
&lt;div&gt;conclude that the recor&lt;span&gt;d &lt;/span&gt;in this case is insufficient to determin&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;whether the account in question was created in compliance with &lt;/div&gt;
&lt;div&gt;that statute&lt;span&gt;.  T&lt;/span&gt;herefore, we reverse the judgment and remand the &lt;/div&gt;
&lt;div&gt;case &lt;span&gt;to the district court for further proceedings consistent wi&lt;span&gt;&lt;/span&gt;th &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;this opinion and to determine appellate attorney fees. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;After eight years of marriage&lt;span&gt;, &lt;/span&gt;wife filed &lt;span&gt;a &lt;/span&gt;petition for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dissolution.&lt;span&gt;  &lt;span&gt;During the marriage, the parties had one child &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;together. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court held a hearing to address property division &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and parental responsibilities&lt;span&gt;.  &lt;/span&gt;After the hearing, the court dissolved &lt;/div&gt;
&lt;div&gt;the marriage and entered permanent orders.  The court divided the &lt;/div&gt;
&lt;div&gt;parties&lt;span&gt;â&lt;/span&gt;&lt;span&gt; several bank account&lt;span&gt;s &lt;/span&gt;and other property, including&lt;span&gt;, a&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relevant here, an account &lt;span&gt;labeled âUGMA&lt;/span&gt;&lt;span&gt;_&lt;/span&gt;&lt;span&gt;UTMAâ&lt;/span&gt; (the account).&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The court divided the $132,950 balance of the account equally &lt;/div&gt;
&lt;div&gt;between the parties.  The court then ordered husband to pay wif&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;an equalization payment of $567,949.  Based on this division and &lt;/div&gt;
&lt;div&gt;other factors, the court determined that wife was entitled to sp&lt;span&gt;&lt;/span&gt;ousal &lt;/div&gt;
&lt;div&gt;maintenance of $2,065.40 per month for three years and &lt;span&gt;&lt;/span&gt;two &lt;/div&gt;
&lt;div&gt;months and child support in the amount of $271.08 per m&lt;span&gt;&lt;/span&gt;onth.    &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Preservation &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;The parties understood that there were UTMA funds in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dispute.  And they alerted the trial court to it in their joint t&lt;span&gt;&lt;/span&gt;rial &lt;/div&gt;
&lt;div&gt;management certificate.  The certificate reflected husbandâs re&lt;span&gt;&lt;/span&gt;quest &lt;/div&gt;
&lt;div&gt;that the court hold the account identified as &lt;span&gt;âT Rowe Price &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;UGMA_UTMAâ for the child until the childâs&lt;span&gt; eighteenth birthday, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;order that no withdrawal occur without a court order, and &lt;span&gt;&lt;/span&gt;permit &lt;/div&gt;
&lt;div&gt;both parties to only add money to the account.  Husband als&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;indicated on the partiesâ joint marital spreadsheet that &lt;span&gt;&lt;/span&gt;the marital &lt;/div&gt;
&lt;div&gt;value of the account was $0. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;By ordering the account to be split equally, the district court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;implicitly found that it was marital property, rather than &lt;span&gt;t&lt;span&gt;&lt;/span&gt;he childâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;property&lt;span&gt;.  &lt;span&gt;Therefore, we consider the issue preserved.  &lt;span&gt;See &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Madalena v. Zurich Am. Ins. Co.&lt;span&gt;, 2023 COA &lt;span&gt;32&lt;/span&gt;&lt;span&gt;, Â¶ &lt;span&gt;&lt;/span&gt;50 (In the civil &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;context, â&lt;span&gt;[i]f a party raises an argument to such a degree t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the court has the opportunity &lt;span&gt;to&lt;/span&gt; rule on it, that argument is &lt;/div&gt;
&lt;div&gt;preserved for appeal.&lt;span&gt;â (quoting &lt;span&gt;Brown v. Am. Standard I&lt;span&gt;&lt;/span&gt;ns. Co. of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Wis.&lt;span&gt;, 2019 COA 11, Â¶ 21))&lt;span&gt;.  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;The district court has latitude to effectuate an equitable &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;distribution of the marital estate based on the facts and &lt;/div&gt;
&lt;div&gt;circumstances of each case, and we will not disturb its decision &lt;/div&gt;
&lt;div&gt;absent an abuse of discretion.  &lt;span&gt;See In re Marriage of Ba&lt;span&gt;&lt;/span&gt;lan&lt;span&gt;son&lt;/span&gt;&lt;span&gt;, 25 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.3d 28, 35 (Colo. 2001).  A court abuses its disc&lt;span&gt;&lt;/span&gt;retion when its &lt;/div&gt;
&lt;div&gt;decision is manifestly arbitrary, unreasonable, unfair, or a &lt;/div&gt;
&lt;div&gt;misapplication of the law.  &lt;span&gt;In re Marriage of Bergeson-Flanders&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2022 COA 18, Â¶ 10.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;And statutory interpretation is a question of law we also review &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;de novo.  &lt;span&gt;Giguere v. SJS Fam. Enters., Ltd.&lt;/span&gt;, 155 P.3d 462, 467 (&lt;span&gt;&lt;/span&gt;Colo. &lt;/div&gt;
&lt;div&gt;App. 2006). &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;UTMA &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;span&gt;Under Coloradoâs &lt;span&gt;UTMA, money, securities, and other prope&lt;span&gt;&lt;/span&gt;rty &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;can be invested in the minor&lt;span&gt;âs name&lt;/span&gt;, with a custodian having a &lt;/div&gt;
&lt;div&gt;fiduciary responsibility &lt;span&gt;to&lt;/span&gt; prudently manage the funds in the &lt;/div&gt;
&lt;div&gt;accounts.  Â§Â§ 11-&lt;span&gt;50&lt;/span&gt;-110, -113, C.R.S. 2024.  But a person &lt;/div&gt;
&lt;div&gt;establishing the account must follow the statutory guidelines under &lt;/div&gt;
&lt;div&gt;the UTMA.   &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Specifically, a person may make a gift or transfer of money to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a minor that will be governed by the UTMA&lt;span&gt;, &lt;/span&gt;as long as the &lt;/div&gt;
&lt;div&gt;transferor, the minor, or the custodian is a resident of Colorado on &lt;/div&gt;
&lt;div&gt;the date of the gift or transfer&lt;span&gt;.  &lt;/span&gt;Â§ 11-&lt;span&gt;50&lt;/span&gt;-103(1), C.R.S. 2024&lt;span&gt;.  &lt;/span&gt;And &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;gift or transfer to a minor made pursuant to the UTMA is &lt;/div&gt;
&lt;div&gt;irrevocable and conveys to the minor indefeasibly vested legal tit&lt;span&gt;&lt;/span&gt;le &lt;/div&gt;
&lt;div&gt;to the property.  Â§ 11-&lt;span&gt;50&lt;/span&gt;-112(2), C.R.S. 2024. &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;To constitute an irrevocable gift or transfer of money under the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;statute, the transferor must pay or deliver the money to &lt;span&gt;â&lt;/span&gt;a broke&lt;span&gt;&lt;/span&gt;r or &lt;/div&gt;
&lt;div&gt;financial institution for credit to an account in the name of the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP754XRHJ2&amp;amp;Expires=1728882179&amp;amp;Signature=E%2BbfTxqAveBlnSAUdzkNXdNBdNA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHQaCXVzLWVhc3QtMSJHMEUCIQCRiu1HmqHzGsGThIA0Is017QJ2kY1uatjAxPUBSRV2OwIgUaC6c%2FPp4Cva3eYWFGUL82DN9oljmekTbXfgm60s37QquwUIzP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDAQeNNJFT5jWrJe37CqPBRlqFY8fqwQmI967SdJ05gvefQuEkWNtOpmbBiy05yBOFa62thTa8LEou9JRndCaLZSYNKZqfqXTTrjLrZ7XYLsq%2BY7DjqZh38KFQxw56G6E%2BpBgmloi0MwwCA%2BhtOkHJNctlOyvqhDSPuDpz%2Fj7qbb0WPCo%2BQyz9Jt68QFrnuGzEQk3y%2FPKng1IRCp30uBpgAU4QQUhh8%2FvICoLNIaovllBnNr6KhUAxg7RU2drKWCEGJr7DWB38BEY%2BDOYAm2oYTaAzQBilbEdAODsbdGkrnYBqOU6Zq9F5RIN4%2FOleX%2FL6Hf22MUzdhjPXQjn9epND%2FStlnThz%2BE82SZqo%2FKpKYK6AuFXs%2Fz6uIOrTooXd5I2Fly9q%2Ffr3UqYKC4oOdRr8Sj3dAFfLR%2B1mm0SbhVtUm81EDfeZuJ%2F3wGEu%2FtjRQKCWk0wqU2kKPZNOx6DqcqIUe3aZxAQAtwTB6d1Ehu%2BmQQJRqJRm0JtlZnbxLdt8jJjij%2FHSOsx%2BzXsWErRN%2B8T4%2Bmff%2Feo3zL1OiOmkELsJvz9GBPfk9c%2BA6ndzwQhXJgbU11FP5ZkK0EasZJtpCYo7kjVHhlduNJx4WwFAd0l9hbZI%2B81iJ3sGfvXfvd0vA%2BeF5enRYw99FyiCdZNL4tyUJ9vRgUcv3IXBX8f3rNq8VunAj46%2BDiyZO9wE1tBuE2airRUyxTvUURaAdxaIldxhfQaL2YkZmPAzkJs3pv9NTDxDuzARZgnjtQCNC26oqFNJjWXtpplc3AMsOOHJH8N8W%2B6v9%2FJYCw4Irsqhc7TXWWI8K%2BPwy2nAUmtgsUH5gIbI8mOn3sQdeBDe5wzLOA3auByoCgzAEdNDCzBULANcPvat2L%2FTHd3WrjwWBFxSG8wppqyuAY6sQGn0E%2BwkcU%2FTQdxGNdLb6kQDnoW8VDER%2BLP025Q%2FyOlmZtdro7IQQ8%2BuZMnf%2FPKSVsbzgdbA4gYFvapCUy8ajA9Rd6ngEMt4M7LpWDv89vOq%2BIDQCJFlee1sypW3vY32P5vYZmQX0fvybcZ1FVaQegjcMFhCuPxOJpniveghH4AQVdqpr3%2BCoQLp1fOT81CwMlqJcbRsG0GZZ%2F6fikXC%2Bde96VHLAdCX%2BBfwM4z8fvN9Ck%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;transferor, . . . followed in substance by the words: &lt;span&gt;â&lt;/span&gt;as custodian &lt;/div&gt;
&lt;div&gt;for _____ (name of minor) under the &lt;span&gt;â&lt;/span&gt;Colorado Uniform Transfe&lt;span&gt;&lt;/span&gt;rs to &lt;/div&gt;
&lt;div&gt;Minors Act.&lt;span&gt;ââ&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Â§ 11-&lt;span&gt;50&lt;span&gt;-&lt;span&gt;110&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;(1)(b).   &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;There is no Colorado case on point that deals with how a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district court should handle a UTMA account in the cont&lt;span&gt;&lt;/span&gt;ext of &lt;/div&gt;
&lt;div&gt;property division in a dissolution of marriage action&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;In re Marria&lt;span&gt;&lt;/span&gt;ge &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of Ludwig&lt;span&gt;, 122 P.3d 1056, 1060-61 (Colo. App. 2005), came close, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;addressing funds held in a Colorado Uniform Gifts to Minors Act &lt;/div&gt;
&lt;div&gt;(UGMA) account.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;There, a division of this court held that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;domestic relations court did not abuse its discretion wh&lt;span&gt;&lt;/span&gt;en it did not &lt;/div&gt;
&lt;div&gt;consider funds in the U&lt;span&gt;GM&lt;/span&gt;A account for purposes of the &lt;span&gt;parents&lt;span&gt;&lt;/span&gt;â &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;support obligations&lt;span&gt;, &lt;/span&gt;and that the domestic relations court lacked &lt;/div&gt;
&lt;div&gt;jurisdiction to remove father as custodian of the childâs acc&lt;span&gt;&lt;/span&gt;ount.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The division determined that the issue of the account&lt;span&gt;âs custodian&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;had to be considered by a district court that obtain&lt;span&gt;ed&lt;/span&gt; jurisdiction &lt;/div&gt;
&lt;div&gt;over the UGMA account in a separate civil proceeding.  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The Colorado Uniform Gifts to Minors Act was repealed an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;reenacted as the Colorado Uniform Transfers to Minors Act in 1984.  &lt;/div&gt;
&lt;div&gt;Ch. 74, sec. 1, 1984 Colo. Sess. Laws 383-93. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf7" data-dest-detail='[7,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:237.947778px;bottom:541.995000px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;span&gt;Buder v. Sartore&lt;span&gt;, 774 P.2d 1383, 1384-&lt;span&gt;85&lt;/span&gt; (Colo. 1989)&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;addressed the proper standard of investment care and &lt;/div&gt;
&lt;div&gt;custodianship in a properly brought civil action concerning a U&lt;span&gt;&lt;/span&gt;TMA &lt;/div&gt;
&lt;div&gt;account&lt;span&gt;.  &lt;span&gt;In finding that the father, who served as custodian of t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;UTMA accounts, had breach&lt;span&gt;ed&lt;/span&gt; his fiduciary duty, the district court &lt;/div&gt;
&lt;div&gt;replaced father with mother as the custodian.  &lt;span&gt;Id.&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;In both cases&lt;span&gt;, &lt;/span&gt;the Colorado courts consider&lt;span&gt;ed&lt;/span&gt; the UGMA and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;UTMA funds to be the property of the children, not the parents.  &lt;/div&gt;
&lt;div&gt;The corollary to this is that, if the funds are &lt;span&gt;not the parentsâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;property, they cannot be marital property.  Other jurisdictions &lt;/div&gt;
&lt;div&gt;interpreting the uniform act upon which our statute is based &lt;/div&gt;
&lt;div&gt;directly conclude that, in the context of a dissolution of marriage &lt;/div&gt;
&lt;div&gt;case,&lt;span&gt; UTMA accounts are not marital property.  &lt;span&gt;See Heit&lt;span&gt;&lt;/span&gt;meyer v. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Arthur&lt;span&gt;, &lt;span&gt;2022-Ohio-4230, Â¶ &lt;span&gt;30&lt;/span&gt; (Ct. App.) (citing unpublished Ohi&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;decisions that have held that a custodial account under &lt;span&gt;Ohioâs&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;UTMA is not marital or separate property)&lt;span&gt;; &lt;/span&gt;&lt;span&gt;In re Marriage of Kenney&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;137 S.W.3d 487, 490-91 (Mo. Ct. App. 2004) (accounts under &lt;/div&gt;
&lt;div&gt;Iowaâs UTMA law were not marital property); &lt;span&gt;Guerrier v. Guerrier&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;574 S.E.2d 69, 70 n.2 (N.C. Ct. App. 2002) (noting that in a &lt;/div&gt;
&lt;div&gt;separate domestic relations action, the court had improperly &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;considered accounts &lt;span&gt;owned by the partiesâ children under &lt;span&gt;&lt;/span&gt;North &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Carolinaâs UTMA &lt;span&gt;to be marital property&lt;span&gt;);&lt;/span&gt;&lt;span&gt; In re Marria&lt;span&gt;&lt;/span&gt;ge of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Hendricks&lt;span&gt;, 681 N.E.2d 777&lt;span&gt;, &lt;/span&gt;782 (Ind. Ct. App. 1997) (stock, which &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was the subject of an irrevocable gift to the &lt;span&gt;partiesâ &lt;/span&gt;child under &lt;/div&gt;
&lt;div&gt;Indianaâs UTMA&lt;span&gt;, &lt;/span&gt;was not âmarital propertyâ that could be di&lt;span&gt;&lt;/span&gt;vided &lt;/div&gt;
&lt;div&gt;up&lt;span&gt;on the dissolution of the &lt;span&gt;partiesâ marriage)&lt;/span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Although we are not bound by out-&lt;span&gt;of&lt;/span&gt;-state authority, &lt;span&gt;see &lt;span&gt;Wa&lt;span&gt;&lt;/span&gt;l-&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mart Stores, Inc. v. United Food &amp;amp; Com. Workers Int&lt;span&gt;â&lt;/span&gt;l Union&lt;span&gt;, 2016 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 72, Â¶ 17,&lt;span&gt; &lt;/span&gt;we find these authorities persuasive&lt;span&gt;, &lt;span&gt;see&lt;/span&gt;&lt;/span&gt;&lt;span&gt; People in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Interest of C.L.S.&lt;span&gt;, &lt;span&gt;313 P.3d 662, 666 (Colo. App. 2011) (when &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interpreting a Colorado statute based on a uniform act, &lt;span&gt;&lt;/span&gt;â&lt;span&gt;we may &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;look to authority from other states interpreting their versions of the &lt;/div&gt;
&lt;div&gt;code for persuasive &lt;span&gt;authorityâ).  &lt;/span&gt;Therefore, we conclude that &lt;span&gt;&lt;/span&gt;if the &lt;/div&gt;
&lt;div&gt;account was established under the UTMA, the district &lt;span&gt;&lt;/span&gt;court erred &lt;/div&gt;
&lt;div&gt;by&lt;span&gt; treating it as marital property and dividing the funds between &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;husband and wife.   &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;But&lt;span&gt; on this record, we cannot determine whether this account &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was established under the UTMA.  It is t&lt;span&gt;rue&lt;/span&gt; that the account is &lt;/div&gt;
&lt;div&gt;identified as &lt;span&gt;âUGMA_UTMAâ&lt;/span&gt; &lt;span&gt;on husbandâs bank statements&lt;/span&gt;.  But &lt;/div&gt;
&lt;div&gt;no evidence in the record indicates that husband &lt;span&gt;de&lt;/span&gt;livered the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP754XRHJ2&amp;amp;Expires=1728882179&amp;amp;Signature=E%2BbfTxqAveBlnSAUdzkNXdNBdNA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHQaCXVzLWVhc3QtMSJHMEUCIQCRiu1HmqHzGsGThIA0Is017QJ2kY1uatjAxPUBSRV2OwIgUaC6c%2FPp4Cva3eYWFGUL82DN9oljmekTbXfgm60s37QquwUIzP%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDAQeNNJFT5jWrJe37CqPBRlqFY8fqwQmI967SdJ05gvefQuEkWNtOpmbBiy05yBOFa62thTa8LEou9JRndCaLZSYNKZqfqXTTrjLrZ7XYLsq%2BY7DjqZh38KFQxw56G6E%2BpBgmloi0MwwCA%2BhtOkHJNctlOyvqhDSPuDpz%2Fj7qbb0WPCo%2BQyz9Jt68QFrnuGzEQk3y%2FPKng1IRCp30uBpgAU4QQUhh8%2FvICoLNIaovllBnNr6KhUAxg7RU2drKWCEGJr7DWB38BEY%2BDOYAm2oYTaAzQBilbEdAODsbdGkrnYBqOU6Zq9F5RIN4%2FOleX%2FL6Hf22MUzdhjPXQjn9epND%2FStlnThz%2BE82SZqo%2FKpKYK6AuFXs%2Fz6uIOrTooXd5I2Fly9q%2Ffr3UqYKC4oOdRr8Sj3dAFfLR%2B1mm0SbhVtUm81EDfeZuJ%2F3wGEu%2FtjRQKCWk0wqU2kKPZNOx6DqcqIUe3aZxAQAtwTB6d1Ehu%2BmQQJRqJRm0JtlZnbxLdt8jJjij%2FHSOsx%2BzXsWErRN%2B8T4%2Bmff%2Feo3zL1OiOmkELsJvz9GBPfk9c%2BA6ndzwQhXJgbU11FP5ZkK0EasZJtpCYo7kjVHhlduNJx4WwFAd0l9hbZI%2B81iJ3sGfvXfvd0vA%2BeF5enRYw99FyiCdZNL4tyUJ9vRgUcv3IXBX8f3rNq8VunAj46%2BDiyZO9wE1tBuE2airRUyxTvUURaAdxaIldxhfQaL2YkZmPAzkJs3pv9NTDxDuzARZgnjtQCNC26oqFNJjWXtpplc3AMsOOHJH8N8W%2B6v9%2FJYCw4Irsqhc7TXWWI8K%2BPwy2nAUmtgsUH5gIbI8mOn3sQdeBDe5wzLOA3auByoCgzAEdNDCzBULANcPvat2L%2FTHd3WrjwWBFxSG8wppqyuAY6sQGn0E%2BwkcU%2FTQdxGNdLb6kQDnoW8VDER%2BLP025Q%2FyOlmZtdro7IQQ8%2BuZMnf%2FPKSVsbzgdbA4gYFvapCUy8ajA9Rd6ngEMt4M7LpWDv89vOq%2BIDQCJFlee1sypW3vY32P5vYZmQX0fvybcZ1FVaQegjcMFhCuPxOJpniveghH4AQVdqpr3%2BCoQLp1fOT81CwMlqJcbRsG0GZZ%2F6fikXC%2Bde96VHLAdCX%2BBfwM4z8fvN9Ck%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;money to T. Rowe Price, followed by a declaration that he was the &lt;/div&gt;
&lt;div&gt;custodian for the child under the UTMA, as required by section 1&lt;span&gt;&lt;/span&gt;1-&lt;/div&gt;
&lt;div&gt;50&lt;span&gt;-&lt;span&gt;110&lt;span&gt;(1)(b).&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;span&gt;Accordingly, we reverse the district courtâs &lt;span&gt;judgment and &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand the matter for the court to take additional evidence and &lt;/div&gt;
&lt;div&gt;make findings on whether the account was created under the &lt;/div&gt;
&lt;div&gt;UTMA.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;If &lt;span&gt;so&lt;/span&gt;, the court could not divide the account as marital &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;property and must recalculate its property division.  After &lt;/div&gt;
&lt;div&gt;recalculating the property division, the court must then revisit it&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;determinations of spousal maintenance and child support. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See In &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;re Marriage of de Koning&lt;span&gt;, &lt;span&gt;2016 CO 2, Â¶ &lt;span&gt;22&lt;/span&gt; (when a district court &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;revisits a property division in a marriage dissolution&lt;span&gt;&lt;/span&gt;, it must also &lt;/div&gt;
&lt;div&gt;reevaluate maintenance and child support determinations because &lt;/div&gt;
&lt;div&gt;the issues are interdependent). &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;Hu&lt;/span&gt;sband indicated in the &lt;span&gt;partiesâ &lt;/span&gt;joint trial management&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;certificate that the account should be held for the minor chil&lt;span&gt;&lt;/span&gt;d until &lt;/div&gt;
&lt;div&gt;eighteen years of age.  But an account established under the UTM&lt;span&gt;&lt;/span&gt;A &lt;/div&gt;
&lt;div&gt;does not terminate and the funds may not transfer to the &lt;span&gt;&lt;/span&gt;mino&lt;span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;until the minor turns twenty-one.  Â§ 11-&lt;span&gt;50&lt;/span&gt;-121(1)(a), C.R.S.&lt;span&gt;&lt;/span&gt; 2024. &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Wife contends that husband transferred marital assets int&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;account after she filed the petition for dissolution of marriage. &lt;span&gt;&lt;/span&gt; We &lt;/div&gt;
&lt;div&gt;take no position on this assertion, as we are remanding the &lt;span&gt;&lt;/span&gt;matter &lt;/div&gt;
&lt;div&gt;to the district court to take additional evidence.  &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfa" data-dest-detail='[10,"XYZ",69,219,null]'&gt;&lt;div style="border-style:none;position:absolute;left:201.109444px;bottom:794.011111px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="#pfa" data-dest-detail='[10,"XYZ",69,137,null]'&gt;&lt;div style="border-style:none;position:absolute;left:148.516111px;bottom:626.021667px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;V.&lt;span&gt; &lt;span&gt;Appellate Attorney Fees &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Wife requests an award of appellate attorney fees under &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section 13-&lt;span&gt;17&lt;/span&gt;-102, C.R.S. 2024&lt;span&gt;, arguing that husbandâs appeal &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;lacks substantial justification.  Given our disposition, we deny &lt;/div&gt;
&lt;div&gt;wifeâs&lt;span&gt; request.  &lt;span&gt;See In re Marriage of Collins&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;2023 COA 116M, Â¶ 87.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Wife also requests her appellate attorney fees pursuant to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;section &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;-&lt;span&gt;119&lt;/span&gt;&lt;/span&gt;, C.R.S. 2024, in consideration of the financial &lt;/div&gt;
&lt;div&gt;disparity that exists between the parties.  Because the district &lt;span&gt;&lt;/span&gt;court &lt;/div&gt;
&lt;div&gt;is better equipped to determine the factual issues regarding t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;partiesâ current financial resources, we remand &lt;span&gt;the issue of wheth&lt;span&gt;&lt;/span&gt;er &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;wife should be awarded reasonable appellate attorney fees to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;district court&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See In re Marriage of Bochner&lt;/span&gt;, 2023 COA 63, Â¶ 22; &lt;/div&gt;
&lt;div&gt;see also In re Marriage of Schaefer&lt;span&gt;, 2022 COA 112, Â¶ 37 (holding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that wif&lt;span&gt;eâs request for award of her attorney fees associate&lt;span&gt;&lt;/span&gt;d with &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;successful appeal of maintenance and child support awards w&lt;span&gt;&lt;/span&gt;ould &lt;/div&gt;
&lt;div&gt;be considered on remand). &lt;/div&gt;
&lt;div&gt;VI.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Conclusion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;We reverse the judgment and remand the case for the district &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court to make further findings on the UTMA account&lt;span&gt;, &lt;/span&gt;reconsider &lt;/div&gt;
&lt;div&gt;other issues identified in this opinion as may be necessary following &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;resolution of the UTMA account issue, and &lt;span&gt;consider wifeâs request &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for appellate attorney fees under section 14-&lt;span&gt;10&lt;span&gt;-&lt;span&gt;119&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;JUDGE FOX and JUDGE SCHOCK concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
